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IN THE UNITEn s'rATEs DISTRICT coUR'r - -
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UNITED sTATES or AMERICA
Plaintiff,
vs. cR. No. 05-20066~1),- 05-20071-1)
05~20075-13; 05-200'76-13/
RITA WILLIAMSON 05-20077-13
Defendant.

v-_/-._l~_r-._r~_r~._-_-_-_/

 

oRDER oN CHANGE oF PLEA
AND SETTING

 

This cause came to be heard on September 2, 2005, the United States
Attorney for this district, Timothy R. DiScenza, appearing for the
Government and the defendant, Rita Williamson2 appearing in person and with
counsel, Edwin A. Perry, who represented the defendant.

With leave of the Court, the defendant Withdrew the not guilty plea
heretofore entered and entered a plea of guilty to Count l of the Indictment
05-20066, Count l of the Indictment 05-20075, and Count 1 of the Indictment
05-20076.

Remaining Counts in Indictments 05~20066, 05-20071, 05-20075, 05-
20076, and 05-20077 shall be dismissed at the Sentencing Hearing.

Plea colloquy was held and the Court accepted the guilty plea.

SENTENCING in this CaSe is SET for FRIDAY, JRNUARY 27, 2006, at
1:30 P.M., in Courtroam Nb. 3, on the 9th floor before Judge Bernice B.
Donald.

Defendant is allowed to remain released on present bond.

ENTERED this the JZn¢Lday of September, 2005.

  

 

ITED STATES DISTRICT JUDGE

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with Rule 55 and/or 32(b) FHCrP on z' B’Oj g

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Notice of Distribution

This notice confirms a copy of the document docketed as number 62 in
case 2:05-CR-20076 Was distributed by faX, mail, or direct printing on
September 8, 2005 to the parties listed.

 

 

EdWin A. Perry

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Honorable Bernice Donald
US DISTRICT COURT

